Case 1:21-cr-00517-CKK Document 65-1 Filed 08/04/23 Page 1 of 21




                 EXHIBIT A
           Case 1:21-cr-00517-CKK Document 65-1 Filed 08/04/23 Page 2 of 21




Honorable Colleen Kollar-Kotelly
United States District Judge
c/o Chad Mair
Portale Randazzo LLP
245 Main Street, Suite 605
White Plains, NY 10601



August 3, 2023

Dear Honorable Colleen Kollar-Kotelly,

My name is Milagros Gaietto, wife of Kevin Louis Gaietto. Kevin and I married back in 2001 right
before 911. We've been happily married for 22 years. We have never been blessed with children
and he is my life partner.

My husband went to Washington DC at the spur of the moment to support the president because
of the belief that the election was stolen. I was in disbelief when the FBI converged on our home
in Westminster CA and arrested him for his actions on that day of infamy. The charges are not
consistent with the man that I know and love. He is not a violent person and has always obeyed
the law.

In 2016 I was diagnosed with tonsil cancer and Kevin helped me through that tough time in my
life. He was by my side through the whole experience. They removed my tonsil and removed
several cells from my lymph nodes to check for spreading of the cancer. My surgery and recovery
was many months of follow-up exams in San Diego California which was a 2 hour drive from our
home. Kevin drove me to every appointment and stayed with me throughout the examinations.
We had to go to these exams every 3 months for 2 years. The doctor stated that he believed that
he got all the cancer and for 2 years I was in remission.

In 2019 they found more cancer in the other tonsil and it appeared that the cancer had spread to
my lymph nodes. The doctors recommended chemotherapy and radiation treatments everyday
(Monday -Friday) for 2 months in January and February of 2019. Kevin was again by my side
driving me to therapy treatments and helping me with a feeding tube and other medical issues. I
could not have survived without the assistance with my husband's support and care. This was the
most difficult time in my life and my husband was there, by my side praying for me and getting
me through the difficulties of sickness after radiation and chemotherapy treatments. After all
these treatments, we still had to go to doctors visits to make sure the cancer was gone. Kevin
drove me to every appointment and was there for me when I needed him the most.

It is now 2023 and I recently had another exam - chest x-ray and mammogram. Apparently the
doctors have found a rather large nodule in the chest scan. I am scheduled to have a chest CT
scan at the end of this month, and I am afraid of what will happen if my husband will be
         Case 1:21-cr-00517-CKK Document 65-1 Filed 08/04/23 Page 3 of 21




incarcerated. I am not a very good driver and I need assistance getting to these appointments.
Without his assistance and love and care, I will be at a loss.

I know in my heart that Kevin is a generous, kind, God-fearing man who would never hurt
anyone. He has always helped those who are less fortunate. He has been contrite and
remorseful for the last two years and regrets ever going to DC. He is my rock when times are
tough and I need him now more than ever. I can't live without him should this new discovery
turn out to be a cancerous tumor. Please do not take him away from me at my time of need.
I'm scared and afraid that I will not be able to take care of myself should this turn into cancer for
the third time. I need him by my side through this next phase of my life.

I'm not asking the court to excuse his conduct but to consider the impact of his incarceration on
my life, so I am begging you for leniency. We only have each other to lean on and support one
another in this life and he's all I have.

Thank you for your consideration in this matter.




Milagros R. Gaietto
        Case 1:21-cr-00517-CKK Document 65-1 Filed 08/04/23 Page 4 of 21



February 18. 2023

I lonorable Colleen Kollar-l<otelly
United Stai.es Districl Judge
District of Columbia

Mr. Denni> J. Plymale. MllA
1165 Burgundy CoUI1
Spring Hill, Florida 34609

Your Honor:

My name is Dc1lllis J. Plymale, and I am a retired! United States Marine Corps Sergeant M~jor,
and a rclircd Police Officer from lhe City off luntingtoo Beach, California. l additionally was a
Director for a non.profit organization in Southern California as well as an adjunc( College
Professor for Brandman University, also in California. At present I am retired and lh,jng in
Florida. I have known ~Ir. Kevin Gateuo since around 1m when he began dating my sister-in..
Jaw. When they married, 1 served in the capacily as the father of the Bride, and in effecL "gave"
my sister-in-Jaw to Kevin Galeuo during the marriage ceremony. Since their marriage I have
been around Mr. Gaietto extensively as be is a part of our family. I feel that I know Mr. Gaietto,
and l know his bean as welJ as anyone could. He is to me, my brother.

I have always fotmd Mr. Gaietto to be a loyal and patriotic American. To my knowledge he has
always observed all laws, he is a hard-working man, and he is very religious. Over (he years I
know he has put in countless hours in support of his Church both in California and in Florida. I
know that even now, be continues this and roulioeJy volunleers his suppOrL for his religious
communiLy on a weekly basis. Mr. \,aJerto is well respec,ted and admired by all our mutual
acquaintances. Mr. Galeuo bas oeve.- hesitated 10 lend a hand to someone that needs it. I have
witne-ssed him a.:;sis.ting in the building of engineering, construe-lion, or electrical projr:ct!i for
people from all walks oflife, as well as his Church, while expecting nothing in return. He docs
these things out of the kindness ofbfa heart. and 1 believe because he jus\enjoys helping people
with the skills he possesses that they may not has.1e. In addition to being generous as I've
described. Mr. Gaietto is an educated, and successful engineer with both IJachelors and Masters
Degrees.

As a retired police officer myself. I have atways found Mr. Gaietto to be a law-abiding citi1..en➔ 1
have further found Mr. Galeno to be consistently supportive of law enforcement and the rule of
law. l frankly have a hard time believing he would participate in a protest, or anything else
where he thought bis actions may be illegal. In fact, he has Jold me !hat he would have never
gone to our Nation's Capital on January 6"' ifhe thought that in so doing he would be
committing a crime. To me, the very lhoug.ht that Mr. (raletl() would willingly assault a police
officer, or anyone else for that matter,just boggles my imagination. In my opinion he is too
reSpectfuJ of th.is great Nation and the rig_hts of others to \\11lingly participate in such an action.

Your I lonor, I am in no way questioning your fact finding in this trial, I am merely stating thm,
as someone.that ha(j; knov.1n Mr. Gaietto for over twenty-six years, I personally cannot sec him
        Case 1:21-cr-00517-CKK Document 65-1 Filed 08/04/23 Page 5 of 21



'"illingly panicipating in any of the unlawful acts, ~1.tch as the ones be stands accused ofbefort'.
you. If there is any leniency that you can exercise in this matter, I do not believe you would be
in <.."II'Or by doing so in the case of M1. Kevin Galc:uo.

Very Respec,folly Submjued,
 Case 1:21-cr-00517-CKK Document 65-1 Filed 08/04/23 Page 6 of 21




                                                                       Stephen Bott
                                                                       4116 SW 5th Avenue
                                                                       Cape Coral, Fl 33914



March 3, 2023

The Honorable Colleen Kollar-Kotelly
United States District Judge


        My name is Stephen Bott, I am writing regarding Kevin Galetto. I have been
married to Kevin’s sister Teresa since July of 1986. Over the years we have spent many
holidays and family occasions together. We have golfed together many times, where he
has always exhibited that he is a person of integrity. I also know that Kevin was involved
in his church helping others in the community who needed it.

My opinion of Kevin is that he has been a good Brother in law, brother, uncle, son and
husband. That has not changed with his involvement on January 6th. He has expressed
great regret that he was involved to me personally.



Please consider leniency, he has lived a life of civil obedience. He know he made mistake
and is remorseful. I believe society would be better served if he preformed hours of
community service.

Sincerely yours,



Stephen Bott
           Case 1:21-cr-00517-CKK Document 65-1 Filed 08/04/23 Page 7 of 21



    2/15/2023


    To the Honorable Colleen Kollar-Kotelly, United States District Judge,

   ~y name is Jam~s Sm(tb, and I am a Lead Software Engineer for the Federal Reserve Bank of Dallas (this letter
   1s personal, and m not many way related to the FRB Dallas, and does not reflect the views of any Federal
   Reserve Bank or the System).

    I have known my cousin Kevin Gaietto nearly his entire life and I can attest to his good character. Kevin is an
    !ntelligent, thoughtful and caring man. He is one ofmy 13 year old son's best buddies, and he is a great, calm
    mstructor and mend. I would trust him with my son ifl needed someone to care for him if I had to leave for an
   extended time. Kevin has respect for our military, our police, our government and our laws. I feel 1 know
   Kevin as well as anyone, since we have been friends for nearly a Lifetime and have had many heart-to-heart
   talks over the years. I know he would do anything for someone in need and has frequently offered to drop
  everything and help. For example he has helped the elderly in his community by fixing things around their
  house for free, and has worked with his community through his local church in every city he has lived. He is
  always one of the first in our family to extend condolences when there is a tragedy, and offers to help whenever
  there is a family need.

  When I read the first FBI/DOJ article against him it stated that he had hit an officer. I knew right there that
 there was no way this was true - that is just something that Kevin would be incapable of doing. I have never
 known Kevin to be violent or aggressive. Even on our most wild party nights as young men he always knew
 where to draw the line and stayed out of trouble. He also cares deeply for his country, officials and laws and
 would do anything to protect them. I did talk with Kevin about the event right after it happened and he
 communicated that he was remorseful and disappointed by his choices that day

I was invited to the January 6th event, and my understanding from him was that it would be a protest about the
election results, in support of and requested by president Trump - and right or ~vrong that's what I believed l was
being invited to from my discussions with Kevin. I believe Kevin was a victim of the false narratives and
frankly the greed-driven podcasts and information leading up to that event. I saw the videos Kevin had been
watching and they were ad-filled echo chambers of rhetoric that relied on each other for their 'factual' basis - in
other words, there was never a solid source of truth and I believe these videos were simply ways for people to
make money off broadcasting vitriol. Kevin is a trusting soul and I believe he bought into it.

This part is difficult to put into writing, but I believe the departure of Kevin's father when he was young
contributed to his believe in all this and following these people. I specifically told Kevin that 1 believe he was
getting caught up in people who were pushing an untrue narrative, and I equated this to when be believed the
"rich data poor dad" scam several years ago and paid tens of thousands of dollars to them for help in buying
(and losing) investment properties. In this same way, I believe he was persuaded by the president's comments
and by the "January 6th people" whoever they are, that the coun~ was in distress and needed him, his voice
and his presence on January 6th. When your father, or your president says he needs you, you show up.

I have to ask - if you are someone who loves your country, and you believed the president was asking you
directly for your help, wouldn't you at least show up? That's what I believe Kevin did.
         Case 1:21-cr-00517-CKK Document 65-1 Filed 08/04/23 Page 8 of 21



March 5, 2023

The Honorable Colleen Kollar-Kotelly,

My name is Evelyn Garrett. I am Kevin's eldest sister. I am currently retired. Kevin is the most
wonderful person I know. He is a devout Christian, working as a greeter at his church. He works
for his church's food pantry, driving around in his vehicle to gather food for the distributions. He
does whatever is needed at the church... helping with the new building, laying pavers, etc.

One example of Kevin's generous and forgiving nature is he was riding his bicycle not too long
ago and was hit by a pickup truck driven by an 18 year old boy. He was thrown about 10 feet and
was a bit scraped up, but not seriously injured. I asked him if he was going to sue the boy and he
said, "That's not who I am." He didn't want to ruin the young man's reputation or the lives of his
parent's.

Kevin loves his country, and that is why he was at the January 6 rally. He was exercising his
constitutional right to protest when he got swept away.

Kevin and I love to camp together and travel the world. We were raised in a loving two parent
household. We prayed together every night when we were little. Kevin was a typical boy, riding
bikes, jumping jumps on his bike, catching snakes, playing baseball. He is an excellent athlete
and beats me at most sports. Our mother adores him, as he is the only boy. It will break her heart
ifhe is sent to prison. We both are praying hard that won't happen.

Please consider giving Kevin a fair and reasonable sentence that doesn't include jail time. He
suffered enough for the last 2 years with this hanging over his head and spending hundreds of
thousands of his hard earned money to deal with this. He is a good man. Thank you for listening.

Sincerely,

 ~~
Evelyn Garrett
        Case 1:21-cr-00517-CKK Document 65-1 Filed 08/04/23 Page 9 of 21




March 12, 2023

To: Honorable Colleen Kollar-Kotelly,
United State District Judge


I am writing to you in regards to my Friend Kevin Galetto.

My name is Greg Hilgen, and I work for Sodexo as a Director of Facilities Operations.

I first met Kevin Galetto while working at Focus Diagnostics in the early 2000's as we were
former co-workers as he was hired inside our Facilities Department. So my workplace at the time
was the first time I met Kevin and developed a long-time relationship with him that continues
today and I hope will continue for the rest of our lives. As co-workers we quickly developed into
a close friendship, and I consider Kevin a true Friend and Brother.

While Kevin and I worked together at Focus Diagnostics, in time we called our workplace "the
Focus Family", as many of the workers at this workplace have continued to call each other, even
after my layoff at Focus Diagnostics in 2010. As coworkers at Focus, Kevin's work ethic played
a key role in our department and played a valued role as an Engineer. Kevin implemented and
authored many procedures for new processes and equipment being used inside our laboratory.

In a short time, we formed a special bond at work that developed into many other areas of our
life. We started going to the gym together sometimes daily after work to play basketball,
racquetball, and to lift weights. We both were athletes and loved sports, so we had very much in
common in this area. So during my time at this "Focus Family", Kevin and I joined company
sponsored softball games and basketball games. Kevin and I and our "Focus Family" teammates
spent many nights playing softball/basketball games together over the years. Great times and
memories with Kevin and our teammates and friends. We spent many hours after the gym,
playing tennis, going to baseball games and tailgating and going out to pizza/dinner. Our love for
sports also led us to many Los Angeles Angels games together at Anaheim Stadium where we
enjoyed cheering for our local team and players. We also went to a few Los Angeles Lakers
playoff games over the years. Kevin and I also are church goers and I have joined him at his
church which is close to my house, and we also have gone to a few Harvest Crusades together at
Anaheim Stadium. Harvest Crusades are large evangelistic events where thousands of people
come together to profess their faith in God.

During this time over the years at work and after work, I started to see how much we had in
common, but also how kind, thoughtful, honest, generous he is and his heart and concern for our
coworkers, friends, neighbors and others. At times of need, Kevin would freely give money to
those who were in need. Even when he knew they most likely did not have the capacity to pay
him back. Kevin also was a support to me as well when I and my family were in need, and he
openly loaned money to me when we needed help.

Presently I consider Kevin a forever friend and I do miss seeing him and do miss him and his
wife Ela. We used to live only a short 15 minutes away from each other, and I do miss our
frequent time together since he moved to Florida in 2021. In Proverbs, I am reminded of a few

                                                1
       Case 1:21-cr-00517-CKK Document 65-1 Filed 08/04/23 Page 10 of 21




examples of what I have shared above and Kevin's character: “Do not withhold good from those
who need it, when you have the ability to help” "A friend is always loyal, and a brother is born to
help in time of need".

Kevin also is skilled with his hands as a handyman/contractor type. He has freely assisted me at
our home with home improvement in our master bath, kitchen and helping me install a window
air conditioning 2 unit. Kevin did not ask for any compensation. He did it because we were
friends and I asked him for his time and help. Of course, I made sure he was fed and had a cool
drink!

Kevin was also involved in his church and a valuable member of his congregation at Cottonwood
Church in Los Alamitos, California, where he served as a member who frequently assisted the
elderly and widows of their church at their homes also. Kevin and his fellow church members
would help in their homes, yards, garages, roofs, etc, providing his free time and skills as a
handyman. Kevin also joined his fellow church members by going down to Mexico and
providing his handyman skills for the Mexican brethren by helping them build churches and also
in the homes of his members down south.

There are many other examples I can give you to describe Kevin and his character. Yes he is
kind. Yes he is generous with his time and money. Yes he is honest and law abiding.

Yes I am aware of Kevin's current charge and was saddened to hear the news. However it does
not change my opinion or my mind on him. I consider him a friend.

After I heard about his situation, I drove by his house, and we talked and hugged and he
expressed his mistake and shared with me his sorrow and wished he could reverse this mistake.

I met Kevin while we worked at our job which I shared was and still is our "Focus Family".

Kevin Galetto will always be a part of "my Family" and nothing will ever change that!



Sincerely a Friend of Kevin Galetto



Greg Hilgen




                                                2
      Case 1:21-cr-00517-CKK Document 65-1 Filed 08/04/23 Page 11 of 21



Honorable Colleen Kollar-Kotelly
United States District Judge
c/o Chad Mair
Portale Randazzo LLP
245 Main Street, Suite 605
White Plains, NY 10601




February 20, 2023



Dear Honorable Colleen Koltar-Kotelty,

My name is John Zabukovec and I have worked in corporate sales and leadership for 25+ years. I have
been married for 26 years and have four kids. Our family has been attending Cottonwood Church in Los
Alamitos, California, since 2005 which is where I met Kevin Gaietto. I serve in a volunteer leadership
capacity at the church for a number of ministries and one of them is the Helps ministry. The Helps
Ministry helps single moms, widows, those in a financial bind and the elderly with maintenance work
around their homes. I have worked in a leadership capacity in this particular ministry since 2006. For
over 10 years, Kevin and I have worked together in this ministry serving those both in our congregation
and the community. Kevin has served as both a volunteer and a leader. Kevin was one of my most
trusted volunteers and leaders who I count as a friend. Over the years, Kevin participated in dozens of
project days and volunteered hundreds of hours to make a difference in the lives of those in our
congregation and community.

I have known Kevin to be someone who is extremely generous with his time and skills. I am very
selective about who I have lead our teams as they must be trustworthy, skilled and good with people.
Kevin has proven himself in all of these areas and has been an outstanding leader. Kevin would not only
make himself available for scheduled monthly projects but would make himself available for other
projects that came up off cycle. Kevin was a blessing to me personalty, the pastors at the church and
many in our community over the years. Over the years, I would get unsolicited compliments about
Kevin helping people and the incredible quality of his work. In alt of the time we worked together, I
never had a complaint from a volunteer or recipient that we worked with about Kevin.

Please feel free to reach out if you have any questions.




     Zabukovec   Y
            Case 1:21-cr-00517-CKK Document 65-1 Filed 08/04/23 Page 12 of 21
The Honorable Collen Kollar-Kotelly
Judge, United States District Court
District of Columbia


My name is James George, I'm a federal employee working as a Contracting Officer for
the Veteran's Administration. I'm a former US Navy officer and a retired employee of
the Department of Defense.

I've known Mr. Galetta for over 10 years. We first met at Bible Study Fellowship, a
weekly bible study held at the Cypress Church in Cypress, CA. We realized we attended
the same church; Cottonwood church in Los Alamitos and have been friends since. I
know Kevin well as a brother in Christ and know his heart for God and this country.

Kevin has always been a hard-working, honest man; liked and respected by anyone at
church or BSF that knew him. While working at Quest Diagnostics he earned a
Master's Degree in order to improve his work and make greater contributions to the
company and his profession. Our conversations revolved a good deal around his work
there, what he enjoyed about it and where he was working to improve processes and
the general work environment.

 Kevin volunteered with Cottonwood church in the Men's Helps Ministry; a ministry
that assists elderly people and single mothers with handyman work, moving, yard work
and cleaning at their homes. He has always worked to improve things where ever he is.

I've never known Kevin to be anything but law-abiding and a solid citizen in his
community. I understand that he has been charged with a violation and none of that
changes any opinion I have of Kevin; he is a hard-working honest man that loves God,
his family and his country. I know that Kevin is saddened by the events that transpired
on January 6th at the US Capitol, and ifhe had known anything like that was going to
transpire, he'd have never approached the grounds. Kevin is a non-violent man;
steadfast in his beliefs in the Constitutional processes of our government and the duties
of citizens to respect the law of our land.

Kevin is married; loves his wife and family and it will be hard on them ifhe is separated
from them. I urge clemency for Kevin, he is a man who was in the wrong place at the
wrong time and is not a criminal in any sense. He does not deserve harsh treatment or
imprisonment.




James George
                                                                                  February 21, 2023



Dear Honorable Colleen Kollar-Kotelly,



My name is David Carter, I live in Long Beach, CA with my wife of 30 years we have two children and two
grandchildren. I’m employed by Johnson Controls, Inc. and my title is Customer Business Manager,
currently assigned to maintain facilities at Long Beach Courthouse and Civic Center. I’ve managed both
sites for nearly 8 years.

I’ve known Kevin for over 10 years and served with him at Cottonwood Helps Ministry. What I know
about Kevin he is very faithful in serving the community, less fortunate, and the elderly with practical
household repairs to honor his Lord Jesus Christ. He’s been apart of the ministry for many years and all
until he moved out of the state. He’s worked hard and was able to retire in Florida and was very excited
about the new adventure for he and his wife. Kevin’s personality is easy going, joking with others, and
having a good laugh, just fun to serve with and you would know he would give it all to help those he was
serving that day.

I was sadden/shocked to hear that Kevin was in some legal troubles, however that should not define
who Kevin is, he may have had a momentary lapse of judgement, but he is a law-abiding God-fearing
man.



David Carter




~
j
1
                                                                                                           Case 1:21-cr-00517-CKK Document 65-1 Filed 08/04/23 Page 13 of 21
      Case 1:21-cr-00517-CKK Document 65-1 Filed 08/04/23 Page 14 of 21




Honorable Judge Colleen Kollar-Kotelly, United States District.



My name is Roland Lechuga Verdugo Principal Manufacturing Process Engineer.

I’m writing on behalf of Kevin Galetto, to offer my reference for his moral
character.
Kevin and I have been employed by the same company MKS located in Irvine
California since approximately 2012 and I have come to know and respect Kevin
for his professional knowledge of mechanical and quality engineering. I have
found him to be a good man and valued employee honorable law abiding
attentive in his dealings with me and co-workers. Kevin personally gets involved
and is hands on to trace down to find the root cause and correct the issue. I am so
impressed with the way he handles himself in such a calm and professional
manner. Kevin can be counted on to make great decisions under stressful
situations and always looks for ways to work in harmony with colleagues to reach
a tangible solution.



In closing I can confirm that Kevin Galetto has been fair and honest with me for as
long as I have known him. He has been honest to me and others.



Respectfully,



Roland L Verdugo (RV)
1310 S Van Ness Ave
Santa Ana CA 92797

714 914-8209
roland_verdugo@yahoo.com
    Case 1:21-cr-00517-CKK Document 65-1 Filed 08/04/23 Page 15 of 21




Feb 16, 2023
Honorable Colleen Kollar-Kotelly
United States District Judge.

Subject: Character Reference for Kevin Galetto


To Whom It May Concern:

I live in the neighborhood where Kevin Galetto lived before he moved out of California.

I am a 37 year resident of Southern California; past executive with a number of private
and public companies; long time California homeowner for 36 years, and local Realtor
for the last 20 years.

I have had the distinct pleasure to meet Kevin, along with his wife and friendly dog
about 6 or 7 years ago.

Kevin and I would stop and talk on our near daily walks of our dogs. Kevin has always
impressed me with his friendliness, the desire to ‘do the right thing,’ willingness to
help others and contribute to the needs of the neighborhood. A very nice contrast to
many who I encounter on a day-to-day basis these days.

Knowing his desire to help others and his thoughtfulness that I have seen him display
when I’ve seen him engage with me and others, it shocked me to hear that he was
arrested at the Capital. It confused me to say the least. The charges against him seem
so unlike the person I know him to be.

Respectfully yours,




Paul Murphy




                         13212 Cherry St, Westminster, CA 92683
        Case 1:21-cr-00517-CKK Document 65-1 Filed 08/04/23 Page 16 of 21



To: The Honorable Colleen Kollar-Kotelly                                          March 2, 2023
    United States District Judge


c/o Chad Mair
Portale Randauo LLP
245 Main Street, Suite 605
White Plains, NY 10601




 My name is Steven Nielsen and I am writing this letter to attest to the good character that I have
observed in Kevin Gaietto throughout more than a decade of friendship. I am currently a day trader but
worked for more than 20 years repairing gas stations.

 My friendship with Kevin began at our church where Kevin and I would attend a men's ministry. Kevin
and I would golf together, eat together of course and work on home projects together. We also, as
volunteers would assist with a "Helps Ministry" which would work on various Saturdays to help those
who could not help themselves. I would join on occasion, but Kevin was a regular to the Helps ministry
and would lead teams to help widows, the physically disabled and those in need by doing practical
chores, house work projects, repairs and cleanups at numerous locations. He was selfless in his service
and would have no hesitation using his own money to help.

  Currently Kevin and I have not been in contact too much since he moved to Florida from California.
Because of the longevity of our friendship and the variety of circumstances I have spent with Kevin, I feel
I am an excellent person to attest to his good character. I have read the charges filed against Kevin and
his actions on that single day of January 6th , 2021 do not reflect his life of caring for others through
action. I have always known Kevin as a man of his word and a man of integrity. If there was a need that
was made known to Kevin, he would do what ever he could to help. The heater went out in my house &
I could not afford a new heater, Kevin came over to help me fix it even though he was dealing with a loss
in his family at that time. Kevin has always been very successful in his career and always strove to better
himself professionally to better care for those he loved.

 Thank you for taking the time to hear my input concerning Kevin Galleto's character. I hope that you
see that this one day, even with the bad choices, was not at all a reflection of who Kevin is. I would
hope your Honorable Colleen Kollar-Kotelly that you would consider my honest testimony as well as
others and grant leniency in any potential sentencing.

 Please feel free to contact me with any questions.



                                                          s~?k
                                                          Steve Nielsen

                                                          714 323-4761
                                                                           Dominic Cortella
                                                                                       13642 Rosalind Dr.
                                                                                         Tustin, CA 92780
                                                                                           949-466-1106



Honorable Colleen Kollar-Kotelly
United States District Judge
New York, NY 90210

March 20, 2023




Dear Judge Colleen Kollar-Kotelly,

I am Dominic Cortella, and I was Mr. Galetto’s supervisor for a period of two years spanning 2018 and
2019. I know Kevin to be an honorable person who is a productive and reliable employee, and a man
who was committed to supporting and caring for his wife who was battling cancer at the time, and still
got the job done at work. He was well-liked and respected at work.

I do not condone, justify, nor excuse the actions of Jan 6, 2021. To the contrary, I find them
reprehensible and a black day in the history of our nation. But, as far as what I know of Mr. Galetto’s
character, I know him to be motivated by his sense of patriotism and love of this country. He spoke of
this at work, had such patriotic items at his desk. The products we made, and Kevin was responsible
for Quality Assurance of, were for the US defense, components for the M1A1 Abrams tank. It is my
opinion that his passions in this regard allowed for him to be manipulated into the poor judgement
and decisions he made that day.

Please take this into account in your esteemed judgement in setting a fair consequences for Mr.
Galetto.



Warm Regards,
Q
                                                                                                            Case 1:21-cr-00517-CKK Document 65-1 Filed 08/04/23 Page 17 of 21




    '.I


Dominic Cortella
      Case 1:21-cr-00517-CKK Document 65-1 Filed 08/04/23 Page 18 of 21




To the Honorable Colleen Kollar-Kotelly, U.S. District Judge:



My name is Donald Brothers and I'm a Retirement Planner with Affordable Tax
and Financial in Spring Hill, FL. I have known Kevin Gaietto for approximately one
year now. He has his tax returns completed with our firm and I'm one of his
trusted advisors with a couple of his retirement accounts. I have also played golf
with him almost weekly over the past year and we've become buddies. He's a
pleasure to play golf with and we have fun within our golf group. You get to know
someone pretty well on the golf course.

Kevin Gaietto is a stand-up person who is empathetic and caring. If I'm having a
bad day on the course, he tries to pick me up emotionally along with providing me
with some helpful tips. I know he's a church-going man and volunteers his time
giving out food to the under-privileged at a charity food distribution center. He is
well-liked by our office staff and by his fellow golfers. As far as my dealings with
Kevin go, I find him to be a person of high character and integrity.

Furthermore, I have personally seen taped footage of Mr. Gaietto at the Capitol
             th
on January 6 , 2021. It should be very obvious to anyone watching the video that
he was pushed into the Capitol police from the mob compacted in behind him. He
would have been trampled if he didn't keep moving forward toward the police.
Kevin has expressed remorse to me about being there that day, which I hope will
be a deciding factor during sentencing. In my opinion, someone that does not
have any type of criminal record should be treated with the appropriate leniency.

Thank you for your time.



Sincerely,


~~jj.
Donald G. Brothers

2/15/2023
     Case 1:21-cr-00517-CKK Document 65-1 Filed 08/04/23 Page 19 of 21




 I LIFE CHURCH



March 8, 2023




To whom it may concern,



RE: KEVIN GALETTO



I am writing this letter on behalf of our brother and friend Kevin Gaietto. Mr. Gaietto has
attended Life Church in Spring Hill, Florida since 2021. During this time he has proven to be of
fine and responsible character.

I would like to vouch for his good behavior in the past few years. Mr. Gaietto has been a reliable
worker at our Community Center where he drives our truck for pick up and helps with
distribution of the food every week. He also volunteers time helping clean up our church
grounds by planting, power washing our sidewalks and maintenance.

I pray and hope you look into this matter and consider this letter as part of his good character.
Kevin Gaietto will strive to make amends, and I am sure we will get to see his good works
bringing fruitful results again.

Thank You.




Ro
Pastor, Life Church Spring Hill
    Case 1:21-cr-00517-CKK Document 65-1 Filed 08/04/23 Page 20 of 21




 I LIFE CHURCH

March B, 2023




To whom it may concern,



RE: KEVIN GALETTO

My name is Norberto Ferrer and I am the Community Center Coordinator at Life
Church. I have known Kevin Gaietto for over a year. Kevin has always been a
responsible and caring partner at our Pantry since we first met.

I am writing this letter to uphold Kevin's character. He has been a respected individual
in our church family as well as in our Community and has often participated in
community events and fundraisers.

It is unfortunate that Kevin is in this situation. However, it is obvious to me that he will do
all that he can to rectify this situation without further problems, and is sorry for any
damage or inconvenience he has caused.

I hope that this letter can go some way in convincing the court that Kevin Gaietto is a
good person, and this testimony will be taken into consideration.


Kindest regards,

7f~·
Norberto Ferrer
Community Center Coordinator
Life Church Spring Hill
18924 County Line
Spring Hill, FL 34610
      Case 1:21-cr-00517-CKK Document 65-1 Filed 08/04/23 Page 21 of 21




                            CHARACTER WITNESS LETTER


March 13, 2023



Subject: Character reference for Kevin Gaietto



TO WHOM THIS MAY CONCERN:


This letter is to certify that for about the last year and a half, I have been working
with Mr. Kevin Gaietto as a volunteer in our Life Church Community Center in
Spring Hill, Florida.

Kevin not only helps driving our pantry truck, but also help loading and unloading
it. He helps in the organization and/or accommodation of the food and the
distribution, where he demonstrated love and care for the people in need.

Kevin is always looking for ways to help the people around him. He works hard
and carries himself in a polite, respectable manner.

Sincere y yours,




{727)378-6811

14906 Potterton Cir.

Hudson, FL 34667
